IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: September 15, 2017.

                                     ________________________________________
                                                CRAIG A. GARGOTTA
                                        UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________
EXHIBIT “B”
REDACT
ED
Jennifer Bergh, Esq. (SBN 24103791)
Kristin Zilberstein, Esq. (SBN 24104960)
LAW OFFICES OF MICHELLE GHIDOTTI
600 E John Carpenter Fwy., ste. 200
Irving TX 75062
Ph: (949) 427-2010
Fax: (949) 427-2732
kzilberstein@ghidottilaw.com

Attorney for Creditor,
US Bank Trust National Association as Trustee of the Tiki Series III Trust, its successors and
assigns


                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


IN RE:                                         § CASE NO.: 16-52882-CAG
                                               §
Arturo Garcia,                                 § CHAPTER 13
                                               §
          DEBTORS,                             § CERTIFICATE OF SERVICE
                                               §
                                               §
                                               §
                                               §
                                               §
                                               §
                                               §
                                               §
                                               §
                                               §
                                  CERTIFICATE OF SERVICE


          I am employed in the County of Orange, State of California. I am over the age of

eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

Santa Ana, CA 92705.

          I am readily familiar with the business’s practice for collection and processing of

correspondence for mailing with the United States Postal Service; such correspondence would



                                                  1
                                   CERTIFICATE OF SERVICE
be deposited with the United States Postal Service the same day of deposit in the ordinary

course of business.



On November 13, 2018 I served the following documents described as:

                         AFFIDAVIT OF ADAM THURSBY
                         ORDER

on the interested parties in this action by placing a true and correct copy thereof in a sealed

envelope addressed as follows:

(Via United States Mail)
Debtor                                              Chapter Trustee
Arturo Garcia                                       Mary K Viegelahn
5603 Staack Ave.                                    Chapter 13 Trustee
San Antonio, TX 78240                               10500 Heritage Blvd Suite 201
                                                    San Antonio, TX 78216
Debtors’ Counsel
J. Todd Malaise                                     Mary K. Viegelahn10
909 NE Loop 410, Suite 300                          San Antonio Chapter 13 Trustee
San Antonio, TX 78209                               909 NE Loop 410, Suite 400
                                                    San Antonio, TX 78209

_xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
the United States Postal Service by placing them for collection and mailing on that date
following ordinary business practices.

______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
Eastern District of California

///

///
__xx_(Federal) I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

       Executed on November 13, 2018 at Santa Ana, California

/s / Jennifer Bergh
Jennifer Bergh




                                                2
                                 CERTIFICATE OF SERVICE
